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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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YUSUF J. NURALDIN, Founder and President of
“KALEIDOSCOPE” (“ZEBRA TEAM”) on behalf
of himself and all other similarly situated ZEBRA
TEAM members),
                                      Plaintiff,
                      vs                              5:07-CV-1108

ROBERT COLUCCI, JR., Chairman, Board of Directors;
BRIAN M. SCHULT, Vice Chairman, Board of Directors;
WARREN FRANK, Former C.E.O.;JOE CALABRESE,
Former C.E.O.; FRANK KOBLISKI, Present C.E.O.;
JOHN RENOCK, Senior V.P. of Operations; JOE
DEGRAY, V.P. of Operations; STEVE SHARE, V.P.
of Finance; RICHARD LEE, V.P. of Human Resources;
GARY NORDHEIM, Employee Relations Manager;
JACKIE MUSENGO, Benefits Manager; AUDREY
TUCKER, Light Duty Coordinator; LEO WILLIAMS,
Lead Outside Supervisor; DAVE MIX, Supervisor;
DUKE BAILEY, Supervisor; ANGELA GHOLSTON,
Supervisor; DARRYL VANDERPOOL, Outside
Supervisor; ELIZABETH UNISLAWSKI, Personal
Secretary of Senior V.P. John Renock; PATTY
DISHAW, Manager Service Development; JOE
SPERATO, Dispatch Supervisor; CRAIG WILLIAMS,
Former Director of Human Resources; TOM
SHALLCROSS, Former Manager of All CENTRO
Supervisors; MIKE JABLINSKI, Former Employee
Relations Manger; CARL BAKER, Former Employee
Relations Manager; SCOTT VANDERPOOL, Former
Manager Supervisor; WAVERLY FAISON, Security,
and former Employee Relations Manager and Trainer;
SHAWN McMANUS, Bus Operator (Former outside
supervisor);ROBERT C. SPRAGUE, JR. Former Chief
Administrative Officer; KATHY FULLER, Supervisor
of Regional Transportation Center (RTC); WARREN
WOODRUFF, Manager RTC: ANGELIC MASON,
Supervisor; DAVE KRIESAL, Former Supervisor;
LON LARGE, Dispatch Supervisor; All of CENTRO;
et al,
                                  Defendants.

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APPEARANCES:                                                OF COUNSEL:

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Plaintiff, Pro Se
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   BARRETT & REITZ, P.C.                                    MILES G. LAWLOR, ESQ.
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  Renock, Degray, Share, and Lee
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DAVID N. HURD
United States District Judge
                                    DECISION and ORDER

         A thorough and careful review has been made of plaintiff’s complaint. Each of

plaintiff’s causes of actions are barred as untimely. There is also no basis to toll the statutes

of limitations. Under the circumstances, an amendment would be futile.

         Therefore, it is

         ORDERED that the complaint is DISMISSED in its entirety.

         The Clerk is directed to enter judgment accordingly.



Dated: February 15, 2008

         Utica, New York.




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